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                                                                                                                    UNITED STATES DISTRICT COURT FOR THE
                                                                                                                       WESTERN DISTRICT OF MICHIGAN
                                                                                                                             SOUTHERN DIVISION

                                                                                              ANAERGIA SERVICES, LLC, a Delaware limited
                                                                                              liability company, and KENT COUNTY BIOENERGY
                                                                                              FACILITY, LLC, a Delaware limited liability company,
                                                                                                                                                         No.
                                                                                                             Plaintiffs,
                                                                                                                                                         Hon.
                                                                                              v.
                                                                                                                                                         JURY DEMANDED
                                                                                              KENT COUNTY, MICHIGAN

                                                                                                          Defendant.
                                                                                              _______________________________________/

                                                                                              Mark J. Magyar (P75090)
DYKEMA GOSSETT PLLC • Capitol View, 201 Townsend Street, Suite 900, Lansing, Michigan 48933




                                                                                              Counsel for Plaintiffs
                                                                                              DYKEMA GOSSETT PLLC
                                                                                              Capitol View, 201 Townsend Street, Suite 900
                                                                                              Lansing, Michigan 48933
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                                                                                              mmagyar@dykema.com


                                                                                                                                      COMPLAINT

                                                                                                      Plaintiffs Anaergia Services, LLC (“Anaergia”) and Kent County Bioenergy Facility, LLC

                                                                                              (“KCBF”) (together, the “Company,” or Plaintiffs”), by their attorneys, Dykema Gossett, PLLC,

                                                                                              and for their claims against defendant Kent County, Michigan (“Kent County” or the “County”),

                                                                                              allege as follows:

                                                                                                                           PARTIES, VENUE, AND JURISDICTION

                                                                                                      1.     Anaergia is a Delaware limited liability company. None of its members are or have

                                                                                              any additional members who are Michigan companies or citizens.

                                                                                                      2.     KCBF is a Delaware limited liability company. None of its members are or have

                                                                                              any additional members who are Michigan companies or citizens.

                                                                                                      3.     Kent County is a county in the State of Michigan.
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                                                                                                     4.      This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a) because the

                                                                                              parties are citizens of different States and the amount in controversy exceeds $75,000.00, exclusive

                                                                                              of interest and costs. In addition, Plaintiffs seek a declaratory judgment and such further available

                                                                                              relief. 28 U.S.C. §§ 2201, 2202.

                                                                                                     5.      Venue is proper both because Kent County is where Defendant Kent County is

                                                                                              located, and because the parties’ subject contract on which this action is based has a forum

                                                                                              selection clause requiring that “any legal action between the parties shall be submitted to a court

                                                                                              of competent jurisdiction in Kent County, Michigan,” which is located within the Western District

                                                                                              of Michigan, Southern Division. See 28 U.S.C. § 1391(b)(2); 28 U.S.C. § 102(b)(1).
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                                                                                                                                 GENERAL ALLEGATIONS

                                                                                                                                          The Project

                                                                                                     6.      Kent County issued a Request for Proposals for the Provision of an Innovative

                                                                                              Waste Conversion Project for the Sustainable Business Park of Kent County (“RFP4041”) and

                                                                                              subsequently a Supplemental RFP (“SRFP4041”).

                                                                                                     7.      Plaintiff Anaergia responded to RFP4041 and SRF4041 by proposing to have the

                                                                                              Company (owned by Anaergia) develop, design, permit, construct, provide, equip, operate and

                                                                                              maintain a facility (the “Facility”), capable of processing municipal solid waste (“MSW”) and

                                                                                              Single Stream Recyclables (“SSR”) from Kent County; and producing marketable products,

                                                                                              renewable natural gas (“RNG”) / compost and/or recyclable materials (such development, design,

                                                                                              construction, equipping, operation and maintenance of the Facility, and related infrastructure, to

                                                                                              be collectively hereinafter referred to as the “Project”).




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                                                                                                                           The Project Development Agreement

                                                                                                     8.      The parties entered a “Project Development Agreement” (“PDA”), on which this

                                                                                              action is based. The PDA is attached as Exhibit 1.

                                                                                                     9.      Under the PDA, Kent County desired to have KCBF (owned by Anaergia)

                                                                                              undertake the Project at Kent County’s Sustainable Business Park located in the southwest quarter

                                                                                              of Section 36 of Byron Township, Michigan (Town 5 North, Range 12 West) and/or the West Half

                                                                                              of Section 1 of Dorr Township, Michigan (Town 4 North, Range 12 West).

                                                                                                     10.     Section 1(a) to (b) of the PDA sets forth the non-exhaustive General Project

                                                                                              Responsibilities of the parties. Kent County was to, among other things, “work with the Company
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                                                                                              to obtain permits and to secure potential local support and grants for the Project;” “provide a site

                                                                                              ready for development at the Sustainable Business Park (precise acreage to be determined) under

                                                                                              a long-term lease for the Project at a nominal rate;” and “secur[e] the financing of that portion of

                                                                                              the Project to be owned by the County.”

                                                                                                     11.     Section 2 of the PDA is entitled “Schedule.” It sets for various timetables for “a

                                                                                              Project schedule detailing milestones from the Commencement Date through the Operation Start

                                                                                              Date.” The parties agreed that the Schedule was “subject to the County providing or obtaining

                                                                                              information as reasonably required by the Company,” and that “the timing of such schedule may

                                                                                              shift based on timely submittal of pertinent information by County and regulatory agencies.” The

                                                                                              Schedule was to include all major Project tasks, including those for Project development, design,

                                                                                              financing, permitting, construction, startup, testing and shakedown, with their start dates, ending

                                                                                              dates and durations, as well as specific Project milestone target dates. This Schedule was to be

                                                                                              “[i]n coordination with delivery of the financing plan under Section 6” of the PDA.




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                                                                                                        12.   Under Section 3 of the PDA, Kent County was obligated to “provide the Company

                                                                                              with detailed information about the source, transport, composition and quantity projections by day,

                                                                                              week and month, of MSW,” which the parties acknowledged was necessary “to enable the

                                                                                              Company to prepare for the necessary design and to support the financing for the Facility.”

                                                                                                        13.   Under Section 6 of the PDA, KCBF was to “provide the County with a financing

                                                                                              plan for the Company’s portion of the Project.” The financing plan was due “[w]ithin the

                                                                                              timeframe allowed per the Schedule to be developed as referenced in Section 2 above.” Section

                                                                                              2’s Schedule, in turn, as described above, was contingent upon the “County providing or obtaining

                                                                                              information as reasonably required by the Company,” was to be set “[i]n coordination with
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                                                                                              delivery of the financing plan under Section 6,” and therefore was necessarily subject to “shift

                                                                                              based on timely submittal of pertinent information by County and regulatory agencies,” per

                                                                                              Section 2 of the PDA.

                                                                                                        14.   Section 8 of the PDA is the “Default” provision. Either party could “default” by

                                                                                              failing “to perform any material obligation” under the PDA after the other party provided written

                                                                                              notice declaring a Default identifying such failures and there is no cure within 14 days after this

                                                                                              notice.

                                                                                                        15.   Irrespective of any default, Kent County could terminate the PDA “for

                                                                                              convenience” under Section 10(a)(i) of the PDA. This means “at the discretion of the [County] for

                                                                                              any reason or no reason.” (Ex. 1, PDA § 10(c).)

                                                                                                        16.   If terminating for convenience, the County was obligated to “reimburse the

                                                                                              Company for the necessary and reasonable expenses incurred by the Company under this PDA up

                                                                                              to a maximum amount of three million four hundred thousand United States Dollars

                                                                                              (US$3,400,000).” (Ex. 1. PDA § 11(a).)




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                                                                                                           Kent County’s Invalid Declaration of Default and Plaintiffs’ Response

                                                                                                     17.      On February 16, 2024, Kent County sent a letter to Anaergia and KCBF invalidly

                                                                                              claiming “Material Breach” of the PDA, a copy of which is attached as Exhibit 2. Kent County

                                                                                              incorrectly contended that the Company failed to provide a timely financing plan as contemplated

                                                                                              under Section 6 of the PDA and, therefore, “the project cannot proceed.” Kent County incorrectly

                                                                                              contended that the financing plan was purportedly due “15 months” from the PDA, or “June 2023”

                                                                                              (i.e., eight months before the County declared default).

                                                                                                     18.      But in the next paragraph of the County’s February 16, 2024, letter, the County

                                                                                              disclosed its real purpose for terminating the PDA for its own convenience: because of the
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                                                                                              County’s concern about the allegedly “dire” and “bleak” “financial condition” of the Company’s

                                                                                              “beneficial owner, Anaergia, Inc.,” (Ex. 2), and therefore the County’s concern about the

                                                                                              Company’s overall financial wherewithal to complete the Project, even though there had not and

                                                                                              has been any material breach.

                                                                                                     19.      KCBF and Anaergia responded to the County with a letter dated February 28, 2024,

                                                                                              a copy of which is attached as Exhibit 3. Plaintiffs rejected and denied the County’s assertions of

                                                                                              default. Plaintiffs established that, contrary to the County’s demonstrably false assertion of a “15

                                                                                              month” deadline for the financing plan, the PDA expressly made the financing plan due “[w]ithin

                                                                                              the timeframe allowed per the Schedule to be developed as referenced in Section 2 above,” and

                                                                                              the parties acknowledged that “the timing of such schedule may shift based on timely submittal of

                                                                                              pertinent information by County and regulatory agencies.” (Ex. 3.) Plaintiffs further established

                                                                                              that the County “delayed its tentatively scheduled approvals in August and October of last year,

                                                                                              impeding the Company’s ability” complete the financing plan. (Id.) Plaintiffs therefore considered




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                                                                                              the County’s termination to be one for the County’s own convenience under Section 10(a)(i) of

                                                                                              the PDA and demanded payment of Plaintiffs’ costs pursuant to Section 11(a) of the PDA. (Id.)

                                                                                                      20.     The County, by counsel from Varnum, responded via letter dated March 21, 2024,

                                                                                              a copy of which is attached as Exhibit 4. The County clung to its previously asserted position of

                                                                                              default, and again referenced its concern about the allegedly “dire financial challenges of the

                                                                                              Company’s beneficial owner, Anaergia, Inc.” (Id.) The County did not dispute that it failed to

                                                                                              provide the delayed approvals as set forth in Plaintiffs’ February 28, 2024 letter, but the County

                                                                                              contended that such approvals were not necessary. (Id.) The County again confirmed that “the

                                                                                              PDA is terminated.” (Id., emphasis added.)
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                                                                                                      21.     KCBF and Anaergia again responded via letter dated April 22, 2024, a copy of

                                                                                              which is attached as Exhibit 5. Plaintiffs again established that it was the County, not Plaintiffs,

                                                                                              who were in breach. (Ex. 5.) Plaintiffs further pointed out that the County approved the Project in

                                                                                              July 2023 – after it claims the breach allegedly occurred for purported failure by Plaintiffs to

                                                                                              provide the financing plan by an alleged “June 2023” deadline. (Id.)

                                                                                                      22.     The County again responded via letter dated May 6, 2024, a copy of which is

                                                                                              attached as Exhibit 6. The opening statements of the County’s May 6, 2024, letter asserted that

                                                                                              Plaintiffs’ counsel’s prior letters, Exhibits 3 and 5, purportedly “confirm[ed]” and did not “dispute”

                                                                                              the County’s assertions of breaches, which is obviously not even a remotely fair reading of the

                                                                                              correspondence between the parties and showed that further attempts to engage in resolution

                                                                                              discussions with the County would be futile.

                                                                                                      23.     Plaintiffs, by counsel, responded with a letter on May 15, 2024, a copy of which is

                                                                                              attached as Exhibit 7. Plaintiffs stated their belief that, in light of the last correspondence received

                                                                                              from the County, further resolution attempts would be futile. (Id.) Plaintiffs provided a Statement




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                                                                                              of Account to the County and demanded payment for the amount due and owing as of March 31,

                                                                                              2024, $2,286,978.17. (Id.)

                                                                                                                                        COUNT I –
                                                                                                                                     Breach of Contract

                                                                                                     24.     Plaintiffs repeat and reallege paragraphs 1 through 23 above.

                                                                                                     25.     The PDA is a lawful and enforceable contract.

                                                                                                     26.     The PDA is supported by valid consideration.

                                                                                                     27.     Plaintiffs fully performed all of their duties and obligations under the PDA.

                                                                                                     28.     Plaintiffs did not substantially or materially breach the PDA at any time. Kent

                                                                                              County substantially and materially breached the PDA.
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                                                                                                     29.     A breach is “substantial” if it “has effected such a change in essential operative

                                                                                              elements of the contract that further performance by the other party is thereby rendered ineffective

                                                                                              or impossible, such as the causing of a complete failure of consideration or the prevention of

                                                                                              further performance by the other party.” McCarty v Mercury Metalcraft Co, 372 Mich 567, 573;

                                                                                              127 NW2d 340 (1964).

                                                                                                     30.     In Walker & Co v Harrison, 347 Mich 630, 634-35; 81 NW2d 352 (1957), the

                                                                                              Michigan Supreme Court cautioned that a party’s unilateral:

                                                                                                             “determination that there has been a material breach, justifying his own
                                                                                                             repudiation, is fraught with peril, for should such determination, as viewed
                                                                                                             by a later court in the claim of its contemplation, be unwarranted, the
                                                                                                             repudiator himself will have been guilty of material breach and himself have
                                                                                                             become the aggressor, not an innocent victim.”

                                                                                                     31.     Kent County’s declaration of default was a pretext. Kent County knew that

                                                                                              Plaintiffs had not committed any material breach of the PDA, but it wanted out of the deal due to

                                                                                              its concerns about Anaergia, Inc.’s financial health. So Kent County invalidly concocted a

                                                                                              supposed breach, which was allegedly eight-months old already according to the County by the



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                                                                                              time that the County got around to declaring default, at a time that pre-dated the County’s July

                                                                                              2023 approval of the Project, so that it could avoid paying Anaergia’s costs under the “termination

                                                                                              for convenience” Section of the PDA, even though the County was indeed terminating the PDA

                                                                                              for its own convenience.

                                                                                                       32.    Nothing alleged by Kent County constituted any breach by Plaintiffs at all, let alone

                                                                                              a “substantial” or “material” breach as necessary to declare a default.

                                                                                                       33.    Kent County breached the PDA by, at minimum, (a) invalidly declaring Plaintiffs’

                                                                                              default when Plaintiffs did not and have not defaulted; (b) refusing to perform or permit Plaintiffs’

                                                                                              performance of the PDA, including rendering Plaintiffs’ performance impossible by failing to
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                                                                                              supply information and approvals to Plaintiffs required under the PDA and necessary for Plaintiffs

                                                                                              to perform; (c) refusing to pay outstanding sums due and owing to Plaintiffs in the amount of

                                                                                              $2,286,978.17 as of March 31, 2024, in breach of Section 11(a) of the PDA; and (d) refusing to

                                                                                              acknowledge that its decision to terminate the PDA was for its own convenience pursuant to

                                                                                              Section 10(a)(i) of the PDA, not due to any material or substantial breach or default by Plaintiffs.

                                                                                                       34.    Plaintiffs have suffered money damages in the amount of $2,286,978.17 as of

                                                                                              March 31, 2024, plus interest and any available additional damages, such as attorneys’ fees and/or

                                                                                              costs.

                                                                                                       WHEREFORE, Plaintiffs respectfully request that the Court enter a Judgment in their favor

                                                                                              against Kent County as follows:

                                                                                                       a.     $2,286,978.17 as of March 31, 2024 in damages;

                                                                                                       b.     an award to Plaintiffs of all of their costs and expenses incurred in having to bring

                                                                                              this action to enforce the PDA, including Plaintiffs’ reasonable attorneys’ fees and disbursements

                                                                                              and court costs, to the extent awardable under applicable law;




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                                                                                                     c.     any pre- or post-judgment interest to which Plaintiffs may be entitled, including

                                                                                              pursuant to MCL § 600.6013(8); and

                                                                                                     d.     such further relief or damages to which Plaintiffs may be entitled under applicable

                                                                                              law.

                                                                                                                                    COUNT II –
                                                                                                                Breach of the Covenant of Good Faith and Fair Dealing

                                                                                                     35.    Plaintiffs repeat and re-allege paragraphs 1 through 34 as though fully stated herein.

                                                                                                     36.    The covenant of good faith and fair dealing applies to provisions of the PDA over

                                                                                                which Kent County had sole discretion. See Ferrell v. Vic Tanny Int'l, Inc, 137 Mich. App. 238,

                                                                                                243 (1984); Burkhardt v. City Nat'l Bank, 57 Mich. App. 649, 652 (1975); Dumas v. Auto Club
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                                                                                                Ins Ass'n, 437 Mich. 521, 550 n 3 (1991); 31800 Wick Rd Holdings, LLC v. Future Lodging-

                                                                                                Airport, Inc., 848 F. Supp 2d 757, 766 (E.D. Mich. 2012); Dupree v. Cranbrook Educ. Cmty.,

                                                                                                No. 10-12094, 2012 U.S. Dist. LEXIS 44395, at *30 (E.D. Mich. Mar. 29, 2012) (“such

                                                                                                discretion is not unfettered. It is a well-settled principle of law that such discretion must be

                                                                                                exercised in good faith.”); Harp v. Equilon Enters., No. 302084, 2012 Mich. App. LEXIS 551,

                                                                                                at *18 (Ct. App. Mar. 22, 2012).

                                                                                                     37.    Kent County had sole discretion under Section 2 of the PDA where the County was

                                                                                                obligated to provide or obtain “information as reasonably required by the Company” for the

                                                                                                Company to be able to carry out its scheduling responsibilities, including the schedule on which

                                                                                                the Company could provide the financing plan described in Section 6 of the PDA.

                                                                                                     38.    Kent County had sole discretion over whether it “timely submitt[ed] [ ] pertinent

                                                                                                information” to Plaintiffs, as necessary “to enable the Company to prepare for the necessary

                                                                                                design and to support the financing for the Facility.” (See Ex. 1, PDA §§ 2, 3, 6.)




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                                                                                                   39.     The focus of the obligation of good faith is on how the agreement or other duty is

                                                                                               performed or enforced; a breach of contract may be found where bad faith or unfair dealing

                                                                                               exists in the performance of a contractual term when the manner of performance was

                                                                                               discretionary. Ferrell, 137 Mich App at 243-44; Gorman v. Am Honda Motor Co, Inc, 302

                                                                                               Mich. App. 113, 132-136 (2013).

                                                                                                   40.      The County acted in bad faith. “Bad faith may exist in the absence of dishonesty

                                                                                               or fraud.” Maida v. Ret. & Health Servs. Corp., Nos. 93-1625, 93-1635, 1994 U.S. App. LEXIS

                                                                                               26583, at *14 (6th Cir. Sep. 19, 1994) (applying Michigan law). The Michigan Supreme Court

                                                                                               defined bad faith as “arbitrary, reckless, indifferent, or intentional disregard of the interests of
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                                                                                               the person owed a duty.” Commercial Union Ins Co v. Liberty Mut Ins Co, 426 Mich 127, 135

                                                                                               (1986).

                                                                                                   41.     In bad faith, the County withheld or refused or failed to provide information within

                                                                                               its total control and discretion to Plaintiffs that Plaintiffs critically needed as an indispensable

                                                                                               component under the PDA to establish the Schedule for the Project under Section 2 of the PDA,

                                                                                               including for providing the financing plan under Section 6 of the PDA.

                                                                                                   42.     The County’s bad faith exercise of its discretion rendered performance impossible

                                                                                               for Plaintiffs, and resulted in there being no Schedule set, let alone a deadline, for the financing

                                                                                               plan under Section 6 of the PDA while still awaiting necessary information and approvals from

                                                                                               the County, but the County nevertheless declared default by Plaintiffs despite not having

                                                                                               provided Plaintiffs with the information and approvals required for Plaintiffs to complete the

                                                                                               Schedule and financing plan.

                                                                                                   43.     Accordingly, the County breached the PDA by breaching the covenant of good faith

                                                                                               and fair dealing implied in the PDA, including by exercising total discretion and control over




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                                                                                                 the information and approvals it was to provide to Plaintiffs as a necessary condition for

                                                                                                 Plaintiffs to be able to perform, withholding or failing to provide that information, but

                                                                                                 nevertheless invalidly declaring Plaintiffs’ purported default.

                                                                                                     WHEREFORE, Plaintiffs respectfully request that the Court enter a Judgment in their favor

                                                                                              against Kent County as follows:

                                                                                                     a.      $2,286,978.17 as of March 31, 2024 in damages;

                                                                                                     b.      an award to Plaintiffs of all of their costs and expenses incurred in having to bring

                                                                                              this action to enforce the PDA, including Plaintiffs’ reasonable attorneys’ fees and disbursements

                                                                                              and court costs, to the extent awardable under applicable law;
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                                                                                                     c.      any pre- or post-judgment interest to which Plaintiffs may be entitled, including

                                                                                              pursuant to MCL § 600.6013(8); and

                                                                                                     d.      such further relief or damages to which Plaintiffs may be entitled under applicable

                                                                                              law.

                                                                                                                                      COUNT III –
                                                                                                                              Account Stated (MCL 600.2145)

                                                                                                     44.     Plaintiffs repeat and re-allege paragraphs 1 through 43 as though fully stated herein.

                                                                                                     45.     The balance of Kent County’s account due and owing is $2,286,978.17 as of March

                                                                                                 31, 2024, as set forth in the affidavit attached hereto as Exhibit 8.

                                                                                                     46.     Kent County has received billings for the amount due, see Ex. 8.A, but has failed

                                                                                                 and refused to pay the balance due and owing to Plaintiff.

                                                                                                     47.     The Account between the parties has become stated.

                                                                                                     WHEREFORE, Plaintiffs respectfully request that the Court enter a Judgment in their favor

                                                                                              against Kent County as follows:

                                                                                                     a.      $2,286,978.17 as of March 31, 2024 in damages;



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                                                                                                      b.      an award to Plaintiffs of all of their costs and expenses incurred in having to bring

                                                                                              this action to enforce the PDA, including Plaintiffs’ reasonable attorneys’ fees and disbursements

                                                                                              and court costs, to the extent awardable under applicable law;

                                                                                                      c.      any pre- or post-judgment interest to which Plaintiffs may be entitled, including

                                                                                              pursuant to MCL § 600.6013(8); and

                                                                                                      d.      such further relief or damages to which Plaintiffs may be entitled under applicable

                                                                                              law.

                                                                                                                                         COUNT IV –
                                                                                                                                     Declaratory Judgment

                                                                                                      48.     Plaintiffs repeat and re-allege paragraphs 1 through 47 as though fully stated herein.
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                                                                                                      49.     There is a genuine and bona fide dispute, and an actual controversy and

                                                                                              disagreement between Plaintiffs and the County, regarding the County’s contention that Plaintiffs

                                                                                              committed a material “default” of the PDA by failing to timely provide a “financing plan,” which

                                                                                              Plaintiffs dispute.

                                                                                                      50.     Plaintiffs’ and the County’s interests are directly adverse.

                                                                                                      51.     Thus, for purposes of a declaratory judgment, the correspondence between the

                                                                                              parties, copies of which are attached to this pleading, demonstrate that there is a readily apparent,

                                                                                              substantial controversy between the parties, the parties’ legal interests are directly adverse, and

                                                                                              there is a sufficient immediacy and reality, as the County has already invalidly declared a default

                                                                                              and terminated the PDA, to warrant the issuance of a declaratory judgment.

                                                                                                      WHEREFORE, Plaintiffs respectfully requests that the Court enter a Declaratory Judgment

                                                                                              in Plaintiffs’ favor against Kent County as follows:

                                                                                                      a.      A declaration that Plaintiffs had not materially or substantially breached the PDA

                                                                                              when the County declared default;



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                                                                                                     b.      A declaration that the County was the first to materially breach the PDA by

                                                                                              invalidly declaring default and refusing to pay Plaintiffs’ costs after terminating the PDA for the

                                                                                              County’s own convenience; and

                                                                                                     c.      Such other relief as the Court determines appropriate, 28 U.S.C. § 2202.

                                                                                                                                       COUNT V –
                                                                                                                                    Promissory Estoppel

                                                                                                     52.     Plaintiffs repeat and re-allege paragraphs 1 through 51 as though fully stated herein.

                                                                                                     53.     The County made the promises to Plaintiffs under the PDA knowing that Plaintiffs

                                                                                              would necessarily incur costs during performance, as reflected on the Statement of Account

                                                                                              attached as Exhibit 7.A, and with the promise that the County would later pay Plaintiffs’ costs.
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                                                                                                     54.     The County should have reasonably expected to induce action by Plaintiffs in

                                                                                              making that promise.

                                                                                                     55.     Indeed, the County’s promise to pay did in fact induce Plaintiffs to provide the

                                                                                              services and incur the expenses set forth on the Statement of Account, attached as Exhibit 7.A., to

                                                                                              the County.

                                                                                                     56.     Injustice can be avoided only by the County’s performance of its promise to pay

                                                                                              Plaintiffs for the services it provided and costs it incurred in performance of the PDA.

                                                                                                     WHEREFORE, Plaintiffs respectfully request that the Court enter a Judgment in their favor

                                                                                              against Kent County as follows:

                                                                                                             a.      $2,286,978.17 as of March 31, 2024 in damages;

                                                                                                             b.      an award to Plaintiffs of all of their costs and expenses incurred in having

                                                                                              to bring this action to enforce the PDA, including Plaintiffs’ reasonable attorneys’ fees and

                                                                                              disbursements and court costs, to the extent awardable under applicable law;




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                                                                                                             c.     any pre- or post-judgment interest to which Plaintiffs may be entitled,

                                                                                              including pursuant to MCL § 600.6013(8); and

                                                                                                             d.     such further relief or damages to which Plaintiffs may be entitled under

                                                                                              applicable law.

                                                                                                                                  PRAYER FOR RELIEF

                                                                                                     WHEREFORE, Plaintiffs request that this Court enter judgment in their favor and against

                                                                                              Kent County, and award Plaintiffs the following relief:

                                                                                                     a.      $2,286,978.17 as of March 31, 2024, in damages;

                                                                                                     b.      an award to Plaintiff of all of their costs and expenses incurred in having to bring
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                                                                                              this action to enforce the PDA, including Plaintiffs’ reasonable attorneys’ fees and disbursements

                                                                                              and court costs, to the extent awardable under applicable law;

                                                                                                     c.      any pre- or post-judgment interest to which Plaintiffs may be entitled, including

                                                                                              pursuant to MCL § 600.6013(8);

                                                                                                     d.      a declaration that Plaintiffs had not materially or substantially breached the PDA

                                                                                              when Defendant declared default, whereas Defendant was the first to materially breach the PDA

                                                                                              by invalidly declaring default and refusing to pay Plaintiffs’ costs after Defendant’s termination

                                                                                              of the PDA for convenience; and

                                                                                                     e.      such further relief or damages to which Plaintiffs may be entitled under applicable

                                                                                              law.




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                                                                                              Dated: May 16, 2024               By: /s/ Mark J. Magyar
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